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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF KENTUCKY
                             LOUISVILLE DIVISION
                          CASE NO. 3:23-CR-00061-DJH

UNITED STATES OF AMERICA                                                 PLAINTIFF

V.                                   ORDER

MARKUS STILLWELL                                                        DEFENDANT



      Motion having been made, the parties having no objection thereto, and the Court

having reviewed this matter and being otherwise sufficiently advised;

      IT IS HEREBY ORDERED that the Defendant’s Motion to continue trial is

GRANTED.


      The Court shall set a new schedule by subsequent Order.
